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UNITED STATES OF AMER|CA, wmt§= itt t»..',?_ii?i§$
P|aintiff,
vs. Cr. No. 04-20452 - MI

DARELL LESTER,

Defendant.

 

ORDER GRANT|NG DEFENDANT’S MOT|ON AS TO TR|AL SETT|NG DATE

 

For good cause, and without objection by the government, the Court hereby
GRANTS defendants motion to Set this matter for the Second week of the rotation

calendar.

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attitth

HlPPS McCALLA
'= d States District Court Judge

  
  

 

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with Hute 55 and/or 32(b) FFtCrP on z if §§ g ,10

     

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 40 in
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Honorable J on McCalla
US DISTRICT COURT

